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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

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UNITED STATES DISTRICT COUR

for the
District of Arizona
PIERCE PEAK LLC d/b/a/ ARLO )
Plaintiff/Petitioner )
v. J Civil Action No.
CRYSTALE J REASON, TREVOR D. REID, et al )
Defendant/Respondent )

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JAN 0.2 2024

US DISTRICT COURT. | -
ft CE TRICT OF ARIZONA

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BY,

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| CV24-00001-PHX-MTL

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Long Form)

Affidavit in Support of the Application |

I am a plaintiff or petitioner in this case and declare
that I am unable to pay the costs of these proceedings

and that I am entitled to the relief requested. I declare

under penalty of perjury that the information below is

true and understand that a false statement may result in

a dismissal of my claims.

Instructions

Complete all questions in this application and then sign it.
Do not leave any blanks: if the answer to a question is “0,”
“none,” or “not applicable (N/A),” write that response. If
you need more space to answer a question or to explain your
answer, attach a separate sheet of paper identified with your
name, your case's docket number, and the question number,

Signed: [eevee = D Dp D

Date: LL. C- L: ‘3.9 2.4

For both you and your spouse estimate the average amount of money received from each of the following

|
|
Income amount expected

1.
sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
for taxes or otherwise. .
Income source Average monthly income
amount during the past 12 next month
months
You Spouse You Spouse
Employment $3,083.00 |¢ 1,300.00/$ 2,860.00 |g 0.00
if-
Self-employment = $ 0.00 |$ 0.00|$ 0.00 |$ 0.00
Income from real property (such as rental income) § 0.00 |$ 0.00 |$ 0.00 |$ 0.00
Interest and dividends § 4.00 |$ 4.00 1$ 4.00 |$ 0.00
Gift
ms $ 0.00 |$ 0.00|$ 0.00 |$ 0.00
Ali
tmony $ 0.00 |$ 0.00|$ 0.00 |$ 0.00
Child support § 0.00 |$ 0.00|s 0.00 |$ 0.00
cane NOT HEE PROPER BRM AGECORDING =
THIS DOCK ne wal 5 ‘ AL RULES AND PRACTICES
ro eS SURIECT TO RESECTION BY THE COURT

REVERENCE .

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Retirement (such as social security, pensions, annuities, $ 0.00 |$ 0.00]$ 0.00 |$ 0.00
insurance)
Disability (such as social security, insurance payments) INc Cc ped
$ ABovs, $ 0.0035 0.00 {$ 0.00
Unemployment payments $ 693.00 |$ 0.001$ 0.00 |$ 0.00
Public-assistance (such as welfare) $ 0.00 | 0.00|$ 0.00 |$ 0.00
Other (specif): $ 0.00|$ 0.00/$ 0.00 |$ 0.00
’ 3,777.00 1,301.00 2,861.00 0.00
Total monthly income: $ § § ’ §
2. List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
other deductions.)
Employer Address , Dates of employment Gross
- monthly pay
3Oo Faseyk Beee BvP /: / hz
Cognizant Softvision ° c _ 12,300.00
° HTEAwick wT O76E° | /28 /2{ 3 fs! Z3 |8
wmelZGrm § S6th ST ) _
Runbeck Election Services Progr i, A? 8503 C 7 fs g0 sAlf/es $ 10,000.00
3. List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
taxes or other deductions.)
Employer Address Dates of employment Gross
monthly pay
Carvana Riv S. “Thmpe Pes $ 2,600.00
3GO IY ‘SsAraho AZ. C/) 2 [7o83 — TREND , .
7 7
$
$
4, How much cash do you and your spouse have? $ 10.00
Below, state any money you or your spouse have in bank accounts or in any other financial institution.
Financial institution Type of account Amount you have Amount your
spouse has
Fidelity Checking/Savings/Brokerage /$ 300.00 i$ 0.00
$ $
$ $

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
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5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
household furnishings.
Assets owned by you or your spouse
Home (Value) $ 0.00
Other real estate (Value) 5 : 0.00
Motor vehicle #/ (Value) : $ 0.00
Make and year:
Model:
Registration #:
Motor vehicle #2 (Value) $
Make and year:
Model:
Registration #:
Other assets (Value) : $ 0.00
Other assets (Value) $ 0.00
6. State every person, business, or organization owing you or your-spouse money, and the amount owed.
Person owing you or your spouse Amount owed to you Amount owed to your spouse
money
N/A $ $
$ $
$ $
7. State the persons who rely on you or your spouse for support.
Name (or, if under 18, initials only) - |Relationship Age.

Caitlyn Reid Daughter 24

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8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
monthly rate.

You Your spouse

Rent or home-mortgage payment (including lot rented for mobile home)
Are real estate taxes included? “ Yes (1 No $ 3,600.00 j$ 0.00 |:
Is property insurance included? O Yes % No

Utilities (electricity, heating fuel, water, sewer, and telephone) $ 150.00 |¢ 0.00

. |Home maintenance (repairs and upkeep) $ 50.00 |$ 0.00
Food $ 400.00 |$ 0.00
Clothing $ 50.00 |$ 0.00 |
Laundry and dry-cleaning $ 25.00 }§ 0,00
Medical and dental expenses 4g 200.00 |$ 0.00
Transportation (not including motor vehicle payments) $ 50.00 |$ 0.00
Recreation, entertainment, newspapers, magazines, etc. $ 10.00 |$ 0.00

Insurance (not deducted from wages or included in mortgage payments)

Homeowner's or renter's: : § 0.00 |¢ 0.00
Life: . 1$ 0.00 |$ 0.00
Health: $ 0.00 |§ 0.00
Motor vehicle: . $ 0.00 {$ 0.00
Other: $ 0.00 I$ 0.00
Taxes (not deducted from wages or included in mortgage payments) (specify): § 0.00 | 0.00
Installment payments
Motor vehicle: $ 0.00 |§ 0.00
Credit card (name): , $ 0.00 |$ 0.00
Department store (name): . $ 0.00 |§ 0.00
Other: . $ 0.00 |$ 0.00

Alimony, maintenance, and support paid to others $ 0.00 Ig 0.00

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Regular expenses for operation of business, profession, or farm (attach detailed

$ 0.00|$ 0.00
statement)
Other (specify): § 0.001$ 0,00

4,535.00 .
Total monthly expenses: $ $ 0.00

10,

11.

12,

Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
next 12 months? .

OYes No If yes, describe on an attached sheet.

Have you spent — or will you be spending — any money for expenses or attorney fees in conjunction with this
lawsuit? OF Yes ONo

If yes, how much? $

. Provide any other information that will help explain why you cannot pay the costs of these proceedings.

| have beén out of work since 3/31/2023 (nine months) ‘and exhausted my savings and unemployment
benefits. | recently accepted a job offer at much lower rate but have not yet started working at that job
(pre-employment screening phase). | am separated from my spouse who has moved out f state and
established a separate household. |! no longer expect monetary assistance from my spouse. Also, health and
meds expense

Identify the city and state of your legal residence.
Phooenix, Arizona

Your daytime phone number: (386) 249-9739

Your age: _47 Your years of schooling: 20
